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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

M.J., et al.,                                         )
                                                      )
                               Plaintiffs,            )
                                                      )
        - against -                                   )
                                                          Civ. No. 1:18-cv-1901 (EGS)
                                                      )
The District of Columbia, et al.,                     )
                                                      )
                               Defendants.            )
                                                      )

                DECLARATION OF SETH M. GALANTER IN SUPPORT OF
                  PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        I, Seth M. Galanter, of full age, hereby certify as follows:

    1. I am over 18 years of age and competent to testify regarding the matters described herein.

    2. I am a member in good standing of the bar of the District of Columbia, in addition to

        being duly licensed to practice law in the Commonwealth of Pennsylvania.

    3. I am a Senior Director at the National Center for Youth Law (“NCYL”). I represent

        Plaintiffs in the above-captioned matter, and I submit this declaration in support of

        Plaintiffs’ Motion for Class Certification.

    4. Founded in 1970, NCYL is a non-profit organization that works to improve the lives of

        vulnerable and marginalized children and youth. Among other forms of advocacy,

        NCYL utilizes impact litigation to transform the public systems that serve children and

        youth. In cases across the country, NCYL has represented thousands of children and

        families in complex class action lawsuits and other systemic litigation to ensure these

        students receive appropriate mental health care, including intensive home- and

        community-based mental health services.
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5. One of NCYL’s primary substantive areas of expertise is advocating for the rights of

   children and youth with mental health disabilities, particularly those who are

   institutionalized or at serious risk of institutionalization. NCYL regularly represents

   plaintiffs in federal class actions and other impact litigation in order to ensure that the

   public systems serving these children and youth—including the public education, child

   welfare, and behavioral health systems—provide them with the care they need and to

   which they are legally entitled. Along with the Bazelon Center for Mental Health Law

   and other co-counsel, NCYL represented the plaintiffs in Katie A. v. Bonta, No. 02-

   056662 (AHM) (C.D. Cal.), a class action challenging the failure to provide necessary

   mental health services to Medicaid-eligible children in California’s foster care system

   that would enable the children to stay in their own homes and communities. The Katie A.

   lawsuit resulted in a landmark settlement in 2011 requiring the defendants to provide the

   plaintiff class with intensive home- and community-based mental health services. See

   Katie A., Stipulated J. Pursuant to Class Action Settlement Agreement (Dkt. No. 779).

6. Other representative cases include T.R. v. Dreyfus, No. 2:09-cv-01677-TSZ (W.D.

   Wash.), a class action on behalf of Medicaid-eligible children under 21 in Washington

   state who are unnecessarily institutionalized and placed in foster care due to the lack of

   intensive home- and community-based mental health services, and M.B. v. Corsi, 2:17-

   cv-04102-NKL (W.D. Mo.), a class action challenging the lack of due process in the

   administration of psychotropic drugs to children in Missouri’s foster care system.

7. My work at NCYL focuses on impact litigation, particularly in the areas of children’s

   mental health, disability rights, and special education. Among other matters, I was lead

   counsel in Council of Parent Attorneys and Advocates, Inc. v. DeVos, No. 1:18-cv-1636



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   (D.D.C.), a successful challenge to a U.S. Department of Education effort to delay the

   effective date of important regulations that impact students with disabilities under the

   Individuals with Disabilities Education Act. Along with my colleagues, I represent the

   plaintiffs as lead counsel in J.N. v. Oregon Department of Education, No. 6:19-cv-00096

   (D. Or.), a class action challenging the needless exclusion of children with disability-

   related behaviors from a full day of school.

8. Prior to joining NCYL, I worked at the U.S. Department of Education in the Office for

   Civil Rights in various positions, including as Acting Assistant Secretary from December

   2012 to August 2013. As Acting Assistant Secretary, I oversaw the nationwide

   enforcement of Title II of the Americans with Disabilities Act and Section 504 of the

   Rehabilitation Act in matters involving students with disabilities. I also previously

   worked as Of Counsel at the law firm of Morrison & Foerster LLP, where I participated

   in briefing multiple cases in the federal courts involving disability discrimination and

   civil rights enforcement. As part of this work, I argued two cases in the Supreme Court

   of the United States: Sole v. Wyner, 551 U.S. 74 (2007), and Virginia Office for

   Protection and Advocacy v. Stewart, 563 U.S. 247 (2011). At the firm, I was also lead

   counsel in Equal Rights Center v. District of Columbia, No. 1:04-cv-00529 (D.D.C.), a

   first-of-its-kind federal lawsuit brought by an associational plaintiff and individuals with

   disabilities challenging the accessibility of parking and sidewalks for people with

   mobility impairments and which ended with a successful settlement. I received the D.C.

   Bar’s Pro Bono Lawyer of the Year award for 2007-08 for my work on that case. Prior to

   working at the firm, I served as an appellate attorney at the Civil Rights Division at the

   U.S. Department of Justice, where I litigated claims under the Individuals with



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   Disabilities Education Act, the Americans with Disabilities Act, and Section 504 of the

   Rehabilitation Act. I graduated from University of Pennsylvania Law School in 1993,

   clerked in the U.S. Court of Appeals for the Third Circuit, and served as a Bristow

   Fellow at the Office of the Solicitor General at the U.S. Department of Justice.

9. NCYL has been involved in this matter since at least January 2018, and has devoted

   substantial time and resources to reviewing and analyzing the facts underlying this case

   and researching the applicable law. NCYL has no conflict of interest that would impede

   its ability to fairly and adequately represent Plaintiffs in this matter.

10. NCYL has the resources to zealously represent the Plaintiff Class and is prepared to

   pursue this case through to its resolution. NCYL has partnered in this matter with skilled

   co-counsel at the Bazelon Center for Mental Health Law, Disability Rights DC, and

   Schulte Roth & Zabel LLP. Co-counsel at these partner organizations bring to this case

   extensive experience in federal class action litigation, substantial subject-matter

   expertise, and additional professional resources. Having worked with these attorneys on

   this matter and with some members of the co-counsel team in other cases, I can attest that

   the co-counsel team for Plaintiffs has the necessary skills, experience, and resources to

   provide high-quality representation to the Plaintiff Class.


   I certify under penalty of perjury that the foregoing is true and correct.

   Executed this 19th day of July 2021, in Washington, D.C.



                                                                 d/1;tJt. �
                                                                 Seth M. Galanter




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